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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                       ***

4

5     UNITED STATES OF AMERICA,

6                          Plaintiff,                      2:13-cr-00185-MMD-VCF
                                                           ORDER
7     vs.

8     ROBERT BARROW,
9                           Defendants.
10          Before the court is Defendant Robert Barrow's letter, to the Honorable United States District Judge
11   Miranda M. Du, regarding ineffective assistance of counsel. (#166). This matter has been referred to the
12   undersigned magistrate judge. This letter will be treated as a motion to dismiss counsel.
13          Accordingly,
14          IT IS HEREBY ORDERED that a hearing on Defendant's motion to dismiss counsel (#166) is
15   scheduled for 1:30 p.m., February 4, 2016, in courtroom 3D.
16          The U.S. Marshal is directed to transport defendant to and from the hearing.
17          DATED this 13th day of January, 2016.
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                                                                 CAM FERENBACH
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                                                                 UNITED STATES MAGISTRATE JUDGE

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